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  AO 93 (Rev. 11/13) Search and Seizure Warrant



                                                  UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                              District of Columbia

                      In the Matter of the Search of
                 (Briefly describe the property to be searched
                  or Went(* the person by name and address)                                  Case No.   18-ml-873
                Information Associated with the e-mail accounts porteco.solia@gmall.com,
        soflanehynckegmailcom, belfortitd@gmalt eoodsm@gmall.com, 8abeta03250@gmall.com,
       bemard.aleln65egsmalcom, peremoysonedynalLcom, and debouwer2014@prnacom that is
                            . stored at premises controlled by Goo& LW



                                                          SEARCH AND SEIZURE WARRANT
 To:        Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
 of the following person or property located in the           Northern          District of                California
 (identifi the person or describe the property to be searched and give its location):
       See Attachment A, hereby incorporated by reference.




         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
 described above, and that such search will reveal °den* the person or describe the property lobe seized):
     See Attachment B, hereby incorporated by reference.




            YOU ARE COMMANDED to execute this warrant on or before               December 27, 2018        (not to exceed 14 days)
       [7:1 in the daytime 6:00 a.m. to 10:00 p.m. Oat any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Robin M. Meriweather, United States Magistrate Judge
                                                                                                         ((inited States Magistrate Judge)
        Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
    0 for          days (not to exceed 30) 0 until, the facts justifying, the later specific date of


                                      12/13/2018
                                                           10          \
Date and time issued:                                     Sa    sm




City and state:                 Washington, D.C.                                             Robin M. Meriweather, United States Magistrate Judge
                                                                                                               Printed name and title
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                                                                Return
Case No.:                              Date and time warrant executed:       Copy of warrant and inventory left with:
 18-ml-873                              12/13/2018 0:00 am                    Google Law Enforcement Portal
Inventory made in the presence of:
 Supervisory Special Agent, Javier Almodovar
Inventory of the property taken and name of any person(s) seized:

 The FBI executed a search warrant on Google LLC via the law enforcement portal on December 13, 2018. In
 response, on December 27, 2018 Google LLC provided production returns containing information associated with
 Google accounts identified by porteco.sofia@gmail.com, sofianeirynck@gmail.com, belfortltd@gmailcom,
 eoodsm@gmail.com, sabeta03250@gmail.com, bernard.alain65@gmail.com, gerd.moyson@gmail.com, and
 debouwer2014@gmail.co that is stored at the premises owned, maintained, controlled, or operated by Google LLC,
 1600 Amphitheatre Parkway, Mountain View, California.




                                                                                    '




                                                             Certification


       I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.



Date:          06/21/2019
                                                                                  Executing officer 's signature

                                                                                Special Agent, Todd C. Bina
                                                                                        Printed name and title
